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              Momar Sock




                                                                                               EXHIBIT 805.R


                                                                                                 EXHIBIT 805.R-001
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●   CEO declared motives:
      ○  Lack of belief in the value added by our Play Store. CEO strongly believes that as for PCs, users are able to take all the steps
         necessary to access the game (change phone mode, download apk etc.)
      ○  CEO trusts openness and sometimes acts as “idealist” (foundation work, anecdotes on forest, etc.).




                                                                                                                              EXHIBIT 805.R-002
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●   Invest with them at partnership level.
●   This is an opportunity for us.




                                                                                                           EXHIBIT 805.R-003
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●   About Epic games
●   Epic Games develops the Unreal Engine, a successful game engine that powers games such as Lineage 2 and also powers their internally developed video
    games, such as Fortnite and the Unreal, Gears of War and Infinity Blade series..
●   Company is owned by Tencent (40% at $400M), rest is privately owned by co-founders
●   The top 6 titles using Unreal Engine generated $82M on Play in Q2 2018
●   Epic also owns an a marketplace to sell developer tools.
●   About Fortnite:
●   Hottest game of the moment, which works across PC, console and mobile.
●   125M players
●   Game has generated $1.2B in revenues since launch (need date). 90% of revenues come from non-mobile.
●   Revenues are estimated to very concentrated in 4 western markets (80%) with US leading by far (65% of total revenues, Japan is only 1%).
●   2nd fastest game to ever reach $100M revenues on iOS
●   Fortnite is YouTube's #2 game and it generated 1.8B hours of watchtime in Q2 alone. Fortnite creators have earned approx. $35.8M in revenue YTD 2018 (as
    of 6/28/18).
●   https://9to5mac.com/2018/06/19/fortnite-for-ios-revenue-100m/                                                                     EXHIBIT 805.R-004
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●   Losing 5% revshare would equal $5Bn over 3Yr margin loss




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●   For scenario A, no probability shown. Difference between “at-risk” and “probability weighted expected loss” is due to the difference between a bad but plausible “at-risk” scenario, and our best
    point estimates.
●   Key Fortnite assumptions for at-risk case:
       ○       1) TAM Android at 80% of iOS
       ○       2) TAM drops from 100%-->75% BoY2, --> 75% BoY3+
       ○       3) Apply enabled buyer factor of 60% in 1st Q, rising to 90%for Q2'19+
       ○       4) Leakage to off-Play loading of 3%-->10% over 8 quarters
●   Key Fortnite assumptions for probability-weighted case:
       ○       1) TAM Android at 70% of iOS
       ○       2) TAM drops from 100%-->70% BoY2, --> 50% BoY3+
       ○       3) Apply enabled buyer factor of 43% in 1st Q, rising to 75%for Q2'19+
       ○       4) Leakage to off-Play loading of 5%-->20% over 8 quarters
●   Tencent has stakes / owns:
       ○       Supercell (84%)
       ○       Epic (40%)
       ○       Ubisoft (27.3%)
       ○       Netmarble (22%+8%)
       ○       King via Activision / Blizzard (5%)
                                                                                                                                                                              EXHIBIT 805.R-006
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●   Note: Incremental Fortnite revenue possible from getting Play exclusive
●   Tencent has stakes / owns:
      ○     Supercell (84%)
      ○     Epic (40%)
      ○     Ubisoft (27.3%)
      ○     Netmarble (22%+8%)
      ○     King via Activision / Blizzard (5%)

                                                                                                          EXHIBIT 805.R-007
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●   Detail on HC asks
●   Commercial support of Fortnite Brand: 4 to manage Tournament sponsorship; 2 to manage eSports grant
●   Broader support of the ecosystem: 5 to create and maintain Epic specific features (2 for UE ML bots, 3 for open source game svcs)
●   Deeper partnerships: Support new workload as well as how to sell this to enterprise customers. Sales and marketing would be on the order of
    10HC (TBD), and on the technical side we would need 1PM + 12Eng which should include partner engineering and other support functions.



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●   FWIW, their breakneck growth rate is slowing down.
●   https://screenrant.com/fortnite-sales-figures-declining/

●   And as this reddit shows the game itself keeps fighting back to keep gamer attention
●   https://www.reddit.com/r/FortNiteBR/comments/8q94kj/fortnite_decline/


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●   Paid $6M to EPIC to port Unreal Engine 4 on Vulkan.



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                  Redacted - Privilege



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●   Here is a summarized list of initiatives we have identified.
●   We are looking at the PA owning it, the length of the initiative, whether it has been designed to address the Fortnite issue, and whether the investment is increased due to the fortnite issue
●   GSO & PSO Credits
●   Deal should have an annual term but spending would be allowed over 2 years (time required for dev to build games). Program would review after year 2
●   Cost based on detail model done with another Engine. (Assumption 100 developers of which 5 make it to GA)
●   Program would be launched but with much more scrutiny on ROI and complete deal model

●   Dev marketing on UE-GCP integration
●   UE-GCP integration rEquires only engineering work on Epic’s side
●   Once work is completed, we would support them with $2M/year of marketing spend (not required to match)
●   We would do the dev marketing effort even if no Fortnite issue considering their importance in the industry
                                                                                                                                                                             EXHIBIT 805.R-019
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   ●   Reseller
   ●   Based on $200M GCP revenues.
   ●   Standard revshare is 10%, Epic would have 15%
   ●   We have been very selective on who has access to this program.
   ●   Additionally this could open potential for UE to go after enterprise customers

   ●   GCP PRemium
   ●   Discount price: ~70% (ex: $0.07/Gb —> $0.02/Gb in NA)
   ●   Maintained for multiple years

   ●   Play/GCP credits
   ●   Increased revshare from current pilot program. (2%, total capped)
   ●   Assuming $400M consumer spend per year for Epic 1st Party titles, and 3% revshare
   ●   Could be limited to Fortnite only

   ●   Commercial ML bots integrated with UE (for easy development, detect bots usage in a game)
   ●   Only engineering cost not scoped
   ●   Additional small cost for UE integration
   ●   Starts only in 2019
   ●   Normally, these commercial ML bots would be sold

   ●   Marketplace extension
   ●   Allow UE assets to be sold on our Cloud marketplace and allow UE to sell our Cloud assets on their marketplace.
   ●   Revshares to be set.
   ●   Volumes are expected to be low thus limiting the potential and appeal

   ●   Open Source game services (Q4 & 2019)
   ●   Only engineering cost not scoped
   ●   Work with Epic to build industry standard services used by Cloud games (chat services, virtual leaderboard, reward etc.)
   ●   Unity could also join the foundation work. Despite any potential negative reaction, agreements allow us to work other engines and them with other cloud providers
   ●   The foundation would need to be branded as Cloud only.

   ●   ML Bots education program
   ●   Offer access to ML bots API for small developers for training purposes, design training program
   ●   $5M covers usage costs as well as training design

   ●   Game studio grant
   ●   $5M given to cover development work.
   ●   Shared back with the community

   ●   @Ryan
   ●   3 Esports Partner Managers to work with logistics, tournament planning, sourcing the production companies, etc
   ●   1 dedicated Marketing Head because of how massive the sponsorship is and spanning over so long
   ●   That’s right. I could be scrappy with 3, but not ideal.




                                                                                                                                                               EXHIBIT 805.R-020
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●   YT details
●   $45M: $7.5M goes to tournament, $19 to distribution, $19M to title sponsor
●   All of its incremental
●   Except the Distribution deal for which we’d have considered butting $5M
●   How do we get to the $45M?
●   Value :
●   Strengthen YT Live perception in the gaming community. Recoup $$ through ticket sales, etc.
●   Licensing deal will make us the “Home of Fortnite”, which is the biggest game in the industry.
●   Perception in gaming community of supporting the “little guys” through the grant program.
●   There is an opportunity to make this deal exclusive. But the costs is uncertain due to the current volatility of prices in the industry
                                                                                                                                     EXHIBIT 805.R-021
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●   Game studio grant program raises GCP profile in the industry and shows thought leadership, investment in the future, and ethical use of our
    influence. Also grants visibility into innovations and future hit games.




                                                                                                                             EXHIBIT 805.R-022
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●   How do we get to the $45M?

●   Value :
●   Strengthen YT Live perception in the gaming community. Recoup $$ through ticket sales, etc.
●   Licensing deal will make us the “Home of Fortnite”, which is the biggest game in the industry.
●   Perception in gaming community of supporting the “little guys” through the grant program.

●   There is an opportunity to make this deal exclusive. But the costs is uncertain due to the current volatility of prices in the industry
                                                                                                                                    EXHIBIT 805.R-023
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●   Game studio grant program raises GCP profile in the industry and shows thought leadership, investment in the future, and ethical use of our
    influence. Also grants visibility into innovations and future hit games.




                                                                                                                             EXHIBIT 805.R-024
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●   Game studio grant program raises GCP profile in the industry and shows thought leadership, investment in the future, and ethical use of our
    influence. Also grants visibility into innovations and future hit games.




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●   Already have two open source projects (Ubisoft and Unity); this falls in line with planned approach to line up partners anyway. Incremental cost
    would be plan acceleration but not yet quantified




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●   15% discount would be off the list price ("standard" for this very selective incentive is 10%; 15% would be exceptional). Not just for games
    (would also be for enterprise). Assumes getting to $200M of resold GCP revenue by Y3 - 2021 (which still represents very small portion of
    TAM). Incremental cost is the 5% above and beyond discount being offered for this deal.




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●   Top title Lineage II is 82% of lifetime revenue.
●   Next 5 titles (HIT, OverHIT, PUBG, Injustice 2, Three Kingdoms Blade) are additional 17% of revenue (cu’ve 99% of revenue)




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●   Top title Lineage II is 82% of lifetime revenue.
●   Next 5 titles (HIT, OverHIT, PUBG, Injustice 2, Three Kingdoms Blade) are additional 17% of revenue (cu’ve 99% of revenue)




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Slide 42

1           Shafiq Ahmed@google.com Josh O'Connor@google.com
             Shafiq, I think this is what you were talking about when you said to put together a quick visual for what a foundation contribution
             would look like for either spend on Unreal (which now includes Fortnite) or for just Fortnite.
             _Assigned to Shafiq Ahmed_
             Brian Brazinski, 7/14/2018




                                                                                                                                       EXHIBIT 805.R-044
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●   CEO declared motives:
      ○  Lack of belief in the value added by our Play Store. CEO strongly believes that as for PCs, users are able to take all the steps
         necessary to access the game (change phone mode, download apk etc.)
      ○  CEO trusts openness and sometimes acts as “idealist” (foundation work, anecdotes on forest, etc.).
●   We want to take advantage of potential ooportuntiy



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